         Case 5:19-cv-01180-LCB Document 49 Filed 12/20/19 Page 1 of 2                     FILED
                                                                                 2019 Dec-20 PM 05:02
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

TIFFANY ASHLEY                                 )
CHARLES RICHARD CORRY; and                     )
BULLHEADED, LLC d/b/a                          )
THE BULLPEN STEAKHOUSE,                        )
individually and on behalf of all              )
others similarly situated,                     )
                                               )     Civil Action No.: 5:19-cv-01180
      Plaintiffs,                              )
                                               )     OPPOSED
vs.                                            )
                                               )
TYSON FARMS, INC. d/b/a                        )
RIVER VALLEY INGREDIENTS;                      )
JASON SPANN;                                   )
HYDRA SERVICE, INC. and                        )
JASPER WATER WORKS AND                         )
SEWER BOARD, INC.                              )
                                               )
      Defendants.                              )

      DEFENDANT JASON SPANN’S JOINDER IN DEFENDANT
  TYSON FARMS, INC.’S REPLY IN SUPPORT OF MOTION TO STRIKE

      Defendant Jason Spann respectfully joins in seeking the relief sought in the Reply

in Support of Defendant Tyson Farms, Inc.’s Motion to Strike filed by Defendant Tyson

Farms, Inc. (“Tyson”) on December 20, 2019 (Doc. 48).

      DATED: December 20, 2019                 Respectfully submitted,

                                               /s/ James L. Noles, Jr.
                                               One of the Attorneys for Defendant,
                                               Jason Spann




                                           1
         Case 5:19-cv-01180-LCB Document 49 Filed 12/20/19 Page 2 of 2




OF COUNSEL:

James L. Noles, Jr. (ASB-0572-L63J)
Spencer M. Taylor (ASB-1663-O59S)
Lisa McCrary (ASB-1436-Y00R)
BARZE TAYLOR NOLES LOWTHER LLC
Lakeshore Park Plaza
2204 Lakeshore Drive, Suite 330
Birmingham, Alabama 35209
Phone:     (205) 872-1032
Fax:       (205) 872-0339
Email:     jnoles@btnllaw.com
           staylor@btnllaw.com
           lmccrary@btnllaw.com




                            CERTIFICATE OF SERVICE

      I hereby certify that on this 20th day of December, 2019, I filed a true and correct

copy of the foregoing with the Clerk of Court using the CM/ECF system, which will

send electronic notification of such filing to all counsel of record.


                                                 /s/ James L. Noles, Jr.
                                                 One of the Attorneys for Defendant Jason
                                                 Spann




                                             2
